            Case 13-40075-TLS                         Doc 7            Filed 01/31/13 Entered 01/31/13 08:55:38         Desc Main
                                                                       Document      Page 1 of 7
                                                      IN THE UNITED STATES BANKRUPTCY COURT
                                                                DISTRICT OF NEBRASKA

 IN THE MATTER OF:                                                          )     BK. NO. 13-40075
        Darr A Dockhorn                                                     )     (Chapter 13)
        Arlene E Dockhorn                                                   )
                                                                            )             CHAPTER 13 PLAN
                                                                            )                 AND
                                 Debtor(s).                                 )     NOTICE OF RESISTANCE DEADLINE

1. PAYMENTS
    The Debtor or Debtors (hereinafter called "Debtor") submits to the Standing Chapter 13 Trustee all projected
    disposable income to be received within the applicable commitment period of the plan. The payment schedule is as
    follows:

         A. Monthly Payment Amount                                       B. Number of Payments                   Base Amount (AxB)
      [include any previous payments]
                                 $240.00                                                             60                            $14,400.00

                                                                                  Total Plan Base Amount:
                                                                                  $14,400.00

 The payment shall be withheld from the Debtor's paycheck:                                     Yes             No
 Employee's name from whose check the
 payment is deducted:                            Retired
 Employer's name, address, city, state, phone:
 Debtor is paid:     Monthly            Twice monthly                                Weekly                 Biweekly      Other

This plan cures any previous arrearage in payments to the Chapter 13 Trustee under any prior plan filed in this case.

NOTE: PLAN PAYMENTS TO THE TRUSTEE MUST BEGIN IMMEDIATELY FOR PLANS REQUIRING
PRE-CONFIRMATION ADEQUATE PROTECTION PAYMENTS OR LEASE PAYMENTS. IN THOSE CASES
PROVIDING FOR EMPLOYER DEDUCTIONS, THE DEBTOR MUST MAKE DIRECT PAYMENT TO THE TRUSTEE BY
MONEY ORDER OR CASHIER'S CHECK UNTIL THEIR EMPLOYER DEDUCTION BEGINS. IN CASES WITHOUT
PRE-CONFIRMATION PAYMENTS, PLAN PAYMENTS MUST COMMENCE WITHIN 30 DAYS OF FILING OF THE
PETITION. THE DEBTOR MUST MAKE DIRECT PAYMENT TO THE TRUSTEE UNTIL THEIR EMPLOYER
DEDUCTION BEGINS.

2. ORDER OF PAYMENT OF CLAIMS
    Applicable Trustee fees shall be deducted from each payment disbursed by the Trustee. Claims shall be paid in the
    following order: (1) 11 U. S. C. § 1326(a)(1)(B)&(C) pre-confirmation payments for adequate protection or leases of
    personal property; (2) payments to secured creditors under 11 U.S.C. § 1325(a)(5), payments due on executory
    contracts, the Debtor’s attorney fees, 11 U.S.C. § 507(a)(1)(A) priority domestic support claims and approved
    Chapter 7 Trustee compensation; (3) other administrative expense claims under 11 U.S.C. § 503; (4) other priority
    claims in the order specified in 11 U.S.C. § 507(a) including post-petition tax claims allowed under 11 U.S.C. §
    1305; (5) co-signed consumer debts; (6) general unsecured claims. Unless otherwise noted, claims within each
    class shall be paid pro rata. If funds remain after payment of specific monthly payments provided for in the plan, the
    Chapter 13 Trustee may distribute those funds to secured creditors in payment of their allowed secured claims.




Page 1 of 7                                                                                                                       12/08/05
Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                              Best Case Bankruptcy
            Case 13-40075-TLS                         Doc 7            Filed 01/31/13 Entered 01/31/13 08:55:38                Desc Main
                                                                       Document      Page 2 of 7
3. SECTION 1326(a) PRE-CONFIRMATION ADEQUATE PROTECTION PAYMENTS AND LEASE PAYMENTS
    The following pre-confirmation adequate protection payments on claims secured by personal property and
    pre-confirmation lease payments for leases of personal property shall be paid by the Trustee to the below listed
    creditors without entry of an order of the Court. The Debtor proposing pre-confirmation payments will immediately
    commence plan payments to the Trustee. Creditors must file a proof of claim to receive payment. Payments by the
    Trustee shall commence to these creditors within 30 days of the filing of the proof of claim unless the Trustee does
    not have funds available within 7 working days prior to the end of the 30 day period. Post-confirmation payments
    are provided for below in Paragraphs 6 and 7 of this plan.

 Creditor's Name and Full Address                                              Last Four Digits of              Date of Next               Payment
                                                                                Account Number                  Payment Due                 Amount
       -NONE-                                                                                                                                    $

4. ADMINISTRATIVE CLAIMS
    Trustee fees shall be deducted from each payment disbursed by the Trustee.

         Nebraska Rule of Bankruptcy Procedure 2016-1 (A)(4) and Appendix "N" provide that the maximum allowance of
         Chapter 13 attorney fees and cost which may be included in a Chapter 13 Plan. Total fees or costs in excess of this
         amount must be approved through a separate fee application. Fees and costs requested for allowance are as
         follows:

                           Total Fees Requested                           Fees Received Prior to Filing         Balance of Fees to be Paid in Plan
                                       $3,000.00                                                 $69.00                                  $2,931.00
                          Total Costs Requested                           Costs Received Prior to Filing        Balance of Costs to be Paid in Plan
                                        $300.00                                                   $0.00                                    $300.00

         Fees and costs allowed shall be paid at the rate of not less than $ 220.50 per month and shall accrue from the
         month in which the case is filed.

5. PRIORITY CLAIMS
    11 U.S.C. § 1322(a) provides that all claims entitled to priority under 11 U.S.C. § 507(a) shall be paid in full in
    deferred cash payments unless the holder of a particular claim agrees to a different treatment of such claim except
    for a priority claims under 11 U.S.C. § 507(a)(1)(B). It is further provided that any and all pre-petition penalties, and
    post-petition penalties and interest, which have attached or will be attached to any such claim, shall be treated as a
    general unsecured claim and not entitled to priority. Such claims are as follows:

         (A) Domestic Support Obligations:

               (1)       None. [If none, skip to Priority Taxes section.]
               (2) Name of Debtor who owes Domestic Support Obligation
               (3) The name(s), address(es) and phone number(s) of the holder of ANY domestic support obligation as
               defined in 11 U.S.C. § 101(14A):

 Name                                             Address, City, and State                                     Zip Code        Telephone Number


               (4) The Debtor is required to pay all post-petition Domestic Support Obligations directly to the holder of the
               claim and not through the Chapter 13 Plan.

         B) Arrearages owed to Domestic Support Obligation Holders under 11 U.S.C. § 507(a)(1)(A):
             (1)      None. [If none, skip to subparagraph C below.]
             (2) Name of holder of Domestic Support Obligation Arrearage Claim, estimated arrears and monthly
             payment.

 Name of Creditor                                                            Estimated Arrearage Claim              Monthly payment on arrearage
                                                               $                                           $




Page 2 of 7                                                                                                                            12/08/05
Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                   Best Case Bankruptcy
            Case 13-40075-TLS                         Doc 7            Filed 01/31/13 Entered 01/31/13 08:55:38             Desc Main
                                                                       Document      Page 3 of 7
         (C) Domestic Support Obligations Assigned to or Owed to a Governmental Unit Under 11 U.S.C. § 507(a)(1)(B):
             1)       None. (If none, skip to Priority Tax Claims.)
             2)  Name of Creditor, estimated arrearage claim and any special payment provisions:

 Name of Creditor                                                            Estimated Arrearage Claim Provision for Payment
                                                               $                                       $

         (D) Priority Tax Claims Including Post-Petition Tax Claims Allowed Under 11 U.S.C. § 1305:

 Federal:$0.00                                                 State:$0.00                                Total:$0.00

         (E) Chapter 7 Trustee Compensation Allowed Under § 1326(b)(3):

 Amount Allowed                                                                       Monthly Payment (greater of $25 or 5% of monthly
                                                                                      payment to unsecured creditors)
 $-NONE-                                                                              $

         (F) Other Priority Claims: None

6. SECURED CLAIMS
    (A)(1) Home Mortgage Claims (including claims secured by real property which the Debtor intends to retain). Unless
    otherwise provided in this plan, Debtor shall pay all post-petition mortgage payments directly to each mortgage
    creditor as those payments ordinarily come due beginning with the first due date after the case is filed and such
    creditor shall retain any lien securing its claim. Any pre-petition arrearage shall be paid through this Chapter 13 plan
    with interest as provided below and in equal monthly payments as specified below. The amount of pre-petition
    arrears is determined by the proof of claim, subject to the right of the Debtor to object to the amount set forth in the
    claim.

 Name of                Property                          Estimated Pre-confirmation           Post-confirmation              Monthly       Total
 Creditor               Description                      Pre-petition Interest Rate &            Interest Rate               Payment Payments
                                                          Arrearage Dollar Amount                                             Amount           on
                                                                        Limit, if Any                                on Pre-Petition Pre-petition
                                                                                                                              Arrears    Arrears
                                                                                                                                             Plus
                                                                                                                                         Interest
                                                                                                                        Payments to
                                                                                                                       commence in
                                                                                                                          th
                                                                                                                   the 16 month of
                                                                                                                     the Chapter 13
                                                                                                                       Plan after the
                                                                                                                          payment of
                        Personal                                                                                     attorney fees in
 1. HSBC/rs             Residence                          $7,500.00         %             $         6.0%                paragraph 4 $9,029.84

         (A)(2) The following claims secured by real property shall be paid in full through the Chapter 13 plan:

 Name of                   Property Description                                     Pre-confirmation    Post-confirm      Monthly        Total
 Creditor                                                                        Interest Rate & Dollar         ation    Payment   Payments
                                                                                  Amount Limit, if Any       Interest     Amount Plus Interest
                                                                                                                Rate
 1.                                                                              0.00%        $No limit


         (B) Post-Confirmation Payments to Creditors Secured by Personal Property
         Post-confirmation payments to creditors holding claims secured by personal property shall be paid as set forth in
         subparagraphs (1) and (2). If the Debtor elects a different method of payment, such provision is set forth in
         subparagraph (3).



Page 3 of 7                                                                                                                          12/08/05
Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                 Best Case Bankruptcy
            Case 13-40075-TLS                         Doc 7            Filed 01/31/13 Entered 01/31/13 08:55:38                Desc Main
                                                                       Document      Page 4 of 7
               (1) Secured Claims to Which § 506 Valuation is NOT Applicable:
                  Claims listed in this subsection are debts secured by a purchase-money security interest in a personal motor
                  vehicle, incurred within 910 days of filing of the bankruptcy OR debts secured by a purchase-money security
                  interest in "any other thing of value", incurred within one year prior to filing of the bankruptcy. These claims
                  will be paid in full with interest as provided below and in equal monthly payments as specified below:

 Name of                     Property Description                       Estimated    Pre-confirmation    Post-confirm       Monthly            Total
 Creditor                                                                   Claim Interest Rate & Dollar ation Interest    Payment        Payments
                                                                          Amount Amount Limit, if Any        Rate           Amount              Plus
                                                                                                                                            Interest
       -NONE-                                                                   $     %                $          %                $               $

               (2) Secured Claims to Which § 506 Valuation is Applicable:
                  Claims listed in this subsection are debts secured by personal property not described in the prior paragraph
                  of this plan, 6(B)(1). These claims will be paid either the value of the secured property or the amount of the
                  claim, whichever is less, with interest as provided below and in equal monthly payments as specified below.
                  The portion of a claim that exceeds the value of the secured property will be treated as an unsecured claim.
                  The value of the secured property is determined by the proof of claim, subject to the right of the Debtor to
                  object to such valuation.

 Name of                     Property                   Est. Value of    Pre-confirmation    Post-confirmation              Monthly            Total
 Creditor                    Description                  Security or Interest Rate & Dollar   Interest Rate               Payment        Payments
                                                       Amount Owed Amount Limit, if Any                                     Amount              plus
                                                         (use lowest                                                                        Interest
                                                                amt.)
                                                                                                                       Payments to
                                                                                                                      commence in
                                                                                                                                   th
                                                                                                                            the 16
                                                                                                                       month of the
                                                                                                                         Chapter 13
                                                                                                                      Plan after the
                                                                                                                         payment of
                                                                                                                      attorney fees
       Pinnacle              Water                                                                                     in paragraph
 1. Bank                     Softener                           $500.00       %                 $          2.0%                    4         $531.66

               (3) Other provisions:

         (C) Surrender of Property
         The Debtor surrenders any interest in the following collateral. Any secured claim filed by the below creditors will be
         deemed satisfied in full through surrender of the collateral. Any unsecured deficiency claim must be filed by the bar
         date for claims or allowed by separate order of the Court.

 Name of Creditor                                                                     Collateral to be Surrendered
       -NONE-

         (D) Lien Avoidance
         The Debtor shall file a Motion to Avoid the lien of the following creditor(s):

 Name of Creditor                                                        Amount Owed Property Upon Which Debtor Will Seek to Avoid Lien
       -NONE-                                                                      $

7. EXECUTORY CONTRACTS/LEASES
    (A) The Debtor rejects the following executory contracts:

 Name of Creditor                                                                     Property Subject to Executory Contract
       -NONE-




Page 4 of 7                                                                                                                             12/08/05
Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                    Best Case Bankruptcy
            Case 13-40075-TLS                         Doc 7            Filed 01/31/13 Entered 01/31/13 08:55:38           Desc Main
                                                                       Document      Page 5 of 7
         (B) The Debtor assumes the executory contract/lease referenced below and provides for the regular contract/lease
         payment to be included in the Chapter 13 plan. Any pre-petition arrearage will be cured in monthly payments as
         noted below:

 Name of                     Property Subject to                   Estimated        Monthly Regular # Amount of Due Date               Total
 Creditor                    Executory Contract /                 Arrearages     Payment to      of      Regular of Regular      Payments
                             Lease                                on Contract    be Made on Contract    Contract Contract         (arrears +
                                                                   as of Date       Contract Payments   Payment Payment              regular
                                                                     of Filing    Arrearage Remaining                               contract
                                                                                             as of Date                          payments)
                                                                                              of Filing
       -NONE-                                                                $            $                    $                                $

8. CO-SIGNED UNSECURED DEBTS
    (A) The following co-signed debts shall be paid in full at the contract rate of interest from petition date.

 Name of Creditor                                       Estimated Amount Due          Contract Rate of Interest   Total Due
       -NONE-                                                              $                    %                                               $

9. UNSECURED CLAIMS
    (A) Allowed unsecured claims shall be paid pro rata from all remaining funds.

10. ADDITIONAL PROVISIONS
     (A) If there are no resistances/objections to confirmation of this plan or after all objections are resolved, the Court
     may confirm the plan without further hearing.

         (B) Property of the estate, including the Debtor's current and future income, shall re-vest in the Debtor at the time a
         discharge is issued, and the Debtor shall have sole right to use and possession of property of the estate during the
         pendency of this case.

         (C) In order to obtain distributions under the plan, a creditor must file a proof of claim within 90 days after the first
         date set for the Meeting of Creditors except as provided in 11 U.S.C. § 502(b)(9). Claims filed after this bar date
         shall be disallowed except as provided in Bankruptcy Rule 3002.


         (D) Unless otherwise provided in this plan or ordered by the Court, the holder of each allowed secured claim
         provided for by the plan shall retain its lien securing such claim as provided in 11 U.S.C. § 1325(a)(5)(B).


                                                               NOTICE OF RESISTANCE DEADLINE

ANY RESISTANCE TO THIS PLAN OR REQUEST FOR A HEARING MUST BE FILED IN WRITING WITH THE
BANKRUPTCY CLERK'S OFFICE (SEE ORIGINAL NOTICE OF BANKRUPTCY FOR ADDRESS) AND SERVED ON
THE ATTORNEY FOR THE DEBTOR AT THE ADDRESS LISTED BELOW (OR SERVED ON THE DEBTOR, IF NOT
REPRESENTED BY AN ATTORNEY), ON OR BEFORE:

                                                                             March 26, 2013

IF A TIMELY RESISTANCE OR REQUEST FOR A HEARING IS FILED AND SERVED, THE BANKRUPTCY COURT
WILL HANDLE THE RESISTANCE IN ACCORDANCE WITH NEB. R. BANKR.P.3015-2. IF THERE ARE NO
OBJECTIONS TO THE PLAN AS FILED, THE COURT MAY CONFIRM THE PLAN WITHOUT FURTHER HEARING.




Page 5 of 7                                                                                                                     12/08/05
Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                            Best Case Bankruptcy
            Case 13-40075-TLS                         Doc 7            Filed 01/31/13 Entered 01/31/13 08:55:38             Desc Main
                                                                       Document      Page 6 of 7

                                               CERTIFICATE OF SERVICE
On January 31, 2013 the undersigned mailed a copy of this plan to all creditors, parties in interest and those requesting
notice by regular United States mail, postage prepaid. The parties to whom notice was mailed are either listed below or on
the attached mailing matrix. The undersigned relies on the CM/ECF system of the United States Bankruptcy Court to
provide service to the following: Kathleen A Laughlin, Chapter 13 Trustee.

                                                                          By:   /s/ /s/ Dennis Fricks
                                                                                    Attorney for the Debtor(s)

                                                                                 Attorney Number: #24401
                                                                                                     5000 Central Park Drive, Ste 204
                                                                                 Attorney Address:   Lincoln, NE 68504
                                                                          Attorney Phone Number:     (402) 477-0707
                                                                             Attorney Fax Number:    (402) 939-0960
                                                                          Attorney Email Address:    Dennis.fricks@SamTurcoLawOffices.com




Page 6 of 7                                                                                                                         12/08/05
Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                Best Case Bankruptcy
            Case 13-40075-TLS                         Doc 7            Filed 01/31/13 Entered 01/31/13 08:55:38   Desc Main
                                                                       Document      Page 7 of 7


Acc                                                               2808 Old Fair Rd                    Bureau
921 Oak St                                                        Grand Island, NE 68803              4 Westchester PLz
Scranton, PA 18508                                                                                    #110
                                                                  Grand Island Radiology              Elmsford, NY 10523
Advanced Radiology                                                2808 Old Fair Road, Suite 1
724 N Diers Avenue. #B2                                           P.O. Box 1962                       Rjm Acq Llc
Grand Island, NE 68803                                            Grand Island, NE 68802              575 Underhill Blvd.
                                                                                                      Suite 224
Central Nebraska Home Care                                        Hsbc/rs                             Syosset, NY 11791
2004 N Webb                                                       Attn: Bankruptcy Department
Grand Island, NE 68803                                            Po Box 5263                         Rjm Acquisitions Llc
                                                                  Carol Stream, IL 60197              575 Underhill Blvd, Suite 224
Central Nebraska Orthopedic                                                                           Syosset, NY 11791
PO Box 9805                                                       Internal Medical Assoc of
Grand Island, NE 68802                                            Grand Island                        Saint Francis Medical Center
                                                                  PO ox 2339                          2620 W. Faidley Ave
City Ambulance                                                    Grand Island, NE 68802              Grand Island, NE 68803
City of Grand Island
PO Box 1968                                                       Midwest Imaging                     Statewide Collection L
Grand Island, NE 68802                                            724 N Diers Ave #B2                 115 W 21st St
                                                                  Grand Island, NE 68803              Kearney, NE 68847
City Of Grand Island
Utilities Department 100 E 1st                                    National Recovery Agen              The Physician Network
St                                                                2491 Paxton St                      8055 O Street, Ste. 300
P O Box 1968                                                      Harrisburg, PA 17111                Lincoln, NE 68510
Grand Island, NE 68802                                            Nebraska Heart Institute P.C.       Tiburon Fin
Convergent Outsourcing                                            P.O. Box 82585                      218a S 108th Ave
PO Box 9004                                                       Lincoln, NE 68501-2585              Omaha, NE 68154
Renton, WA 98057                                                  Pacific Pulmonary Services          Urological Associates of GI
Credit Management                                                 P O Box 749816                      620 N Alpha
214 W. 1st St                                                     Los Angeles, CA 90074-9816          Grand Island, NE 68803
PO Box 1512                                                       Penn Credit Corporatio              Uscb Corporation
Grand Island, NE 68802                                            916 S 14th St                       101 Harrison Street
General Collection Co                                             Harrisburg, PA 17104                Archbald, PA 18403
310 N Walnut St                                                   Pinnacle Bank
Po Box 1423                                                       P O Box 598
Grand Island, NE 68802                                            Gretna, NE 68028
General Collection Company                                        Pinnacle Bank
310 North Walnut                                                  99 W 6th Street
P.O. Box 1423                                                     Fremont, NE 68025
Grand Island, NE 68802
                                                                  Retrieval Masters Creditor
Grand Island Imaging center




Page 7 of 7                                                                                                                 12/08/05
Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                        Best Case Bankruptcy
